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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ________________ District of ________

     Case number (If known): _________________________ Chapter you are filing under:
                                                            Chapter 7
                                                            Chapter 11
                                                            Chapter 12
                                                            Chapter 13                                                    Check if this is an
                                                                                                                          amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         /

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together called a
joint case and in joint cases, these forms use you to ask for information from both debtors. For example, if a form ask                     ,
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        __________________________________________________       __________________________________________________
                                        First name                                               First name
       identification (for example,
                                        __________________________________________________       __________________________________________________
       passport).                       Middle name                                              Middle name

       Bring your picture               __________________________________________________       __________________________________________________
       identification to your meeting   Last name                                                Last name
       with the trustee.                ___________________________                              ___________________________
                                        Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________       __________________________________________________
      have used in the last 8           First name                                               First name
      years
                                        __________________________________________________       __________________________________________________
       Include your married or          Middle name                                              Middle name
       maiden names.                    __________________________________________________       __________________________________________________
                                        Last name                                                Last name

                                        __________________________________________________       __________________________________________________
                                        First name                                               First name
                                        __________________________________________________       __________________________________________________
                                        Middle name                                              Middle name
                                        __________________________________________________       __________________________________________________
                                        Last name                                                Last name




3.    Only the last 4 digits of
      your Social Security              xxx     xx    ____ ____ ____ ____                       xxx        xx   ____ ____ ____ ____
      number or federal                 OR                                                      OR
      Individual Taxpayer
      Identification number             9 xx    xx    ____ ____ ____ ____                       9 xx       xx   ____ ____ ____ ____
      (ITIN)

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Debtor 1        _______________________________________________________                             Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                            I have not used any business names or EINs.                   I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________             _________________________________________________
      the last 8 years                     Business name                                                 Business name

      Include trade names and
                                           _________________________________________________             _________________________________________________
      doing business as names              Business name                                                 Business name


                                           ___ ___      ___ ___ ___ ___ ___ ___ ___                      ___ ___      ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                           EIN

                                           ___ ___      ___ ___ ___ ___ ___ ___ ___                      ___ ___      ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                           EIN




5.    Where you live                                                                                     If Debtor 2 lives at a different address:



                                           _________________________________________________             _________________________________________________
                                           Number     Street                                             Number     Street


                                           _________________________________________________             _________________________________________________


                                           _________________________________________________             _________________________________________________
                                           City                            State   ZIP Code              City                            State   ZIP Code


                                           _________________________________________________             _________________________________________________
                                           County                                                        County


                                           If your mailing address is different from the one             If              mailing address is different from
                                           above, fill it in here. Note that the court will send         yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                   any notices to this mailing address.


                                           _________________________________________________             _________________________________________________
                                           Number     Street                                             Number     Street


                                           _________________________________________________             _________________________________________________
                                           P.O. Box                                                      P.O. Box

                                           _________________________________________________             _________________________________________________
                                           City                            State   ZIP Code              City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                    Check one:
      this district to file for
      bankruptcy                              Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any              I have lived in this district longer than in any
                                              other district.                                               other district.

                                              I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)
                                              ________________________________________                      ________________________________________
                                              ________________________________________                      ________________________________________
                                              ________________________________________                      ________________________________________
                                              ________________________________________                      ________________________________________



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Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                              Chapter 7
      under
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13


8.    How you will pay the fee                I will pay the entire fee when I file my petition.
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may                                                          attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                      No
      bankruptcy within the
      last 8 years?                           Yes. District __________________________ When       _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                      No
      cases pending or being
      filed by a spouse who is                Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                        No. Go to line 12.
      residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




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Debtor 1        _______________________________________________________                                  Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                    No. Go to Part 4.
      of any full- or part-time
      business?                                    Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                        _______________________________________________________________________________________
                                                        Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                    _______________________________________________________________________________________
                                                        Number    Street
      LLC.
      If you have more than one
                                                        _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                 _______________________________________________         _______      __________________________
                                                         City                                                   State        ZIP Code


                                                        Check the appropriate box to describe your business:
                                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                             None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor
      Chapter 11 of the                                                                    so that it can set appropriate deadlines. If you indicate that you
      Bankruptcy Code and                       are a small business debtor                                                        , you must attach your
                                                most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business
                                                if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor
                                                   No. I am not filing under Chapter 11.
               ?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      For a definition of small                        the Bankruptcy Code.
      business debtor, see
      11 U.S.C. § 101(51D).




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Debtor 1        _______________________________________________________                     Case number (if known)_____________________________________
                First Name    Middle Name        Last Name




 Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14.   Do you own or have any               No
       property that poses or is
       alleged to pose a threat             Yes. What is the hazard?     ________________________________________________________________________
       of imminent and
       identifiable hazard to                                            ________________________________________________________________________
       public health or safety?
       Or do you own any
       property that needs
                                                  If immediate attention is needed, why is it needed? _______________________________________________
       immediate attention?
       For example, do you own                                           ________________________________________________________________________
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                  Where is the property? ________________________________________________________________________
                                                                         Number        Street


                                                                         ________________________________________________________________________

                                                                         ________________________________________ _______        ____________________
                                                                         City                                     State          ZIP Code




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Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                                I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you                 I received a briefing from an approved credit                      I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities           I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.     I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                   Disability.     My physical disability causes me                    Disability.    My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                   Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                                duty in a military combat zone.                                     duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1       _______________________________________________________                                Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.
                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                              No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                      No
      administrative expenses
      are paid that funds will be                       Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   1-49                                    1,000-5,000                                25,001-50,000
      you estimate that you                   50-99                                   5,001-10,000                               50,001-100,000
      owe?                                    100-199                                 10,001-25,000                              More than 100,000
                                              200-999

19.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?                               $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

20.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities               $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be?                                  $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              ______________________________________________                  _____________________________
                                              Signature of Debtor 1                                           Signature of Debtor 2

                                              Executed on _________________                                   Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                            _________________________________                               Date           _________________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                           Contact phone _____________________________________             Email address   ______________________________




                                           ______________________________________________________ ____________
                                           Bar number                                             State




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Debtor 1     _______________________________________________________                         Case number (if known)_____________________________________
             First Name   Middle Name          Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                            No
                                            Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                            No
                                            Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            No
                                            Yes. Name of Person_____________________________________________________________________.
                                                 Attach                                              and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        _______________________________________________             ______________________________
                                         Signature of Debtor 1                                       Signature of Debtor 2

                                        Date               _________________                         Date             _________________
                                                           MM / DD / YYYY                                             MM / DD / YYYY

                                        Contact phone ______________________________________         Contact phone    ________________________________

                                        Cell phone         ______________________________________    Cell phone       ________________________________

                                        Email address ______________________________________         Email address    ________________________________



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